Case 18-10841-elf         Doc 65     Filed 07/31/19 Entered 07/31/19 15:54:09             Desc Main
                                      Document Page 1 of 2


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   )    Chapter 7
In re:                                             )
                                                   )
DAMIEN AGUOCHA and                                 )    Case No. 18-10841-elf
OBIOMA U. AGUOCHA,                                 )
                                                   )
                            Debtors.               )
                                                   )

                                               ORDER

         Upon consideration of the Motion (the “Motion”) filed by Gary F. Seitz, Chapter 7

Trustee (the “Trustee) of the bankruptcy estate of Damien Aguocha and Obioma U. Aguocha to

(I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS,

CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f),

AND (m), (II) BID PROCEDURES, (III) SURCHARGE AGREEMENT BETWEEN SECURED

LENDER AND THE ESTATE (IV) SECURED LENDER’S RIGHT TO CREDIT BID, AND (V)

OTHER RELIEF, and the Court being satisfied that:

         (i)     the sale of the Property (as defined in the Motion) is necessary and is in the best

interest of the Trustee, Debtors, their creditors and their estates;

         (ii)    the sale of the Property contemplated by the Motion being a sound exercise of the

Trustee’s business judgment and being in good faith;

         (iii)   the sale of the Property is the product of good faith, arm’s length negotiations

between the Trustee and Buyer.

         (iv)    and appearing that notice of the Motion having been given to the Office of the

United States Trustee, the Debtors, creditors and other notice parties;

         (v)     and it appearing that no other notice need be given;

         (vi)    this Court having jurisdiction over the Motion;
Case 18-10841-elf         Doc 65     Filed 07/31/19 Entered 07/31/19 15:54:09         Desc Main
                                      Document Page 2 of 2


          (vii)   after any proceedings in respect of this matter; and

          (viii) sufficient cause appearing therefore, it is hereby:

          ORDERED that pursuant to §§ 363(b) and (f) of the Bankruptcy Code, the Trustee is

authorized and empowered to sell the Property, where is, as is, without representation, warranty,

statement or guaranty whether express or implied, free and clear of interests (unless otherwise

provided in the Motion), for due consideration pursuant to the Agreement of Sale, attached to the

Motion as Exhibit A; and it is further

          ORDERED that the Surcharge Agreement between the Secured Lender and the Estate is

Approved; and it is further

          ORDERED, the Broker Fee and typical closing costs may be paid at closing; and it is

further

          ORDERED, the addtional liens refernced in the Paragraph 20 of the Motion shall not

be paid at closing and shall attach to the proceeds of the sale; and it is further

          ORDERED that Pursuant to Bankruptcy Rules 6004(h), 7062 and 9014 this Order shall

be effective and enforceable immediately upon entry, and the Trustee and the Buyer are

authorized to close the Sale immediately upon entry of this Sale Order. The stay required under

Bankruptcy Rule 6004(h) and is hereby waived.




          July 31
Dated: _________________, 2019                        _________________________________
                                                      ERIC L. FRANK
                                                      UNITED STATES BANKRUPTCY JUDGE
